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                             UNITED STATES DISTRICT COURT
                             FOR THE DISTRICT OF COLUMBIA

 UNITED STATES OF AMERICA
                                             Crim. No. 18-CR-32-2 (DLF)
                v.

 CONCORD MANAGEMENT AND
 CONSULTING LLC,

                Defendant.


                        PARTIES’ JOINT MOTION FOR EXTENSION

        Concord Management and Consulting LLC and the United States of America respectfully

request a one-week extension to submit proposed jury instructions.

        Under the Court’s initial pretrial scheduling order, proposed jury instructions were due on

or before October 21, 2019. Following an unopposed request by the government (ECF No. 216),

the Court granted a two-week extension, and proposed jury instructions are now due on

November 4, 2019. The parties have exchanged proposed jury instructions and are in agreement

on the vast majority of proposed instructions but believe one additional week of time would be

helpful for the parties to discuss and seek to resolve certain differences between the two proposes

sets of instructions.

        This extension of time will not affect the April 6, 2020 trial date.

        A proposed order is submitted herewith.

 Dated: November 4, 2019                              Respectfully submitted,




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                                  CONCORD MANAGEMENT AND
                                  CONSULTING LLC

                                  By Counsel

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